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                          UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF LOUISIANA

                                LAKE CHARLES DIVISION

RAFAEL DANIEL DE LA CRUZ JIMENEZ :                        DOCKET NO. 20-cv-00626
    REG. # 56269-004                                          SECTION P

VERSUS                                          :         JUDGE TERRY A. DOUGHTY

USA, ET AL                                      :         MAGISTRATE JUDGE KAY

                                         JUDGMENT

      For the reasons set forth in this Court’s Ruling,

      IT IS ORDERED the motion for a hearing on the merits, contained within Petitioner’s

Objection to the Report and Recommendation [Doc. No. 10] is DENIED.

      IT IS FURTHER ORDERED that the Motions for Preliminary Injunction [Doc. No. 1]

and Motion to Waive the Federal Bureau of Prison’s Administrative Process [Doc. No. 2] are

DENIED.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that the Petition is

DENIED and DISMISSED WITH PREJUDICE.

      MONROE, LOUISIANA, this 30th day of June, 2020.



                                                    ____________________________________
                                                    TERRY A. DOUGHTY
                                                    UNITED STATES DISTRICT JUDGE
